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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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 ANTONINO BUSSA,
                           Plaintiff,
                                                   MEMORANDUM & ORDER
                     v.                            18-CV-4623 (KAM)(RER)

 ST. JOHN’S UNIVERSITY,
                           Defendant.
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 MATSUMOTO, United States District Judge:

               On August 14, 2018, plaintiff Antonino Bussa

 (“Bussa”), an aspiring graduate student, filed this pro se civil

 action against defendant St. John’s University, alleging that

 defendant’s failure to provide information about graduate

 assistantships denied him a fair and equal opportunity to apply

 for the job and constituted employment discrimination in

 violation of Americans with Disabilities Act of 1990 (“ADA”), 42

 U.S.C. §§ 12112 to 12117.         (See ECF No. 1, Complaint

 (“Compl.”)).       Plaintiff’s application to proceed in forma

 pauperis is granted pursuant to 28 U.S.C. § 1915. 1              For the

 reasons set forth below, the complaint is dismissed but

 plaintiff is afforded thirty days to file an amended complaint.

                                   I. Background

               On August 14, 2018, plaintiff initiated this action.

 The following facts are taken from the complaint, which includes


       1   The court’s August 21, 2018 Order is hereby vacated.
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 an attached July 30, 2018 Equal Employment Opportunity

 Commission (“EEOC”) Notice of Right to Sue letter (“EEOC Right-

 to-Sue letter”).     The allegations in the complaint and

 attachment are treated as true for purposes of this Memorandum

 and Order.

             Plaintiff, a resident of Staten Island, alleges that

 he “was not given a fair and equal opportunity to apply to for a

 graduate assistantship.”       (ECF No 1., Compl. at 6.)       He alleges

 that in September 2017, he applied to graduate school

 (presumably at St. John’s University, although this is not

 explicitly stated in the complaint) with a graduate

 assistantship. 2    (Id. at 5.)    In October 2017, he “inquired in

 various offices” of the defendant’s Staten Island campus about

 graduate assistantships, but the offices, which “had female

 graduate assistantships,” did not provide the help he was

 seeking.    (Id. at 5-6.)     In November 2017, plaintiff spoke

 briefly with “Veronica,” an employee of graduate admissions, and

 Robert Medrano, the director of graduate admissions, regarding

 how to apply for graduate assistantships, but neither followed

 up with plaintiff to provide more information.           (Id.)    During

 their one conversation, plaintiff told Mr. Medrano that the



       2 Although the plaintiff states in his complaint that he “applied to

 graduate school in September 2017, with a graduate assistantship,” the other
 allegations in the complaint suggest that he did not actually apply but,
 instead, merely inquired. (See Compl. at 5-6.)


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 offices he had visited on Staten Island were not helpful and

 that he has a disability.       (Id.)

             Plaintiff filed a complaint with the New York State

 Division of Human Rights in November 2017, alleging gender and

 disability discrimination, which, he alleges, was not

 investigated.     (Compl. at 5.)     The EEOC Right-to-Sue letter

 states that his file was closed because the EEOC had “No

 Jurisdiction-Standing (Graduate Assistantship).”            (Id. at 9.)

 On August 14, 2018, plaintiff filed the complaint in this case,

 stating that the defendant’s discriminatory conduct included its

 failure to hire him, failure to accommodate his disability, and

 denial of a graduate assistantship on the basis of his

 disability (cerebral palsy) and sex (male) in violation of the

 ADA. 3   (Id. at 3-4.)    The remedy he seeks is an opportunity to

 “pursue the Master’s Program in Homeland Security and Criminal

 Justice Leadership with a Graduate Assistantship.”            (Id. at 7.)

                                II. Discussion

          a. Standard of Review

             A complaint must plead “enough facts to state a claim

 to relief that is plausible on its face.”          Bell Atl. Corp. v.

 Twombly, 550 U.S. 544, 570 (2007).          “A claim is plausible ‘when



       3 Although he does not select Title VII as a basis for this Court’s

 jurisdiction, Compl. at 4, since plaintiff alleges in his complaint that he
 was discriminated on the basis of his sex, the court also construes the
 complaint as arising under Title VII, 42 U.S.C. §§ 2000e to 2000e-17.


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 the plaintiff pleads factual content that allows the court to

 draw the reasonable inference that the defendant is liable for

 the misconduct alleged.’”       Matson v. Bd. of Educ., 631 F.3d 57,

 63 (2d Cir. 2011) (quoting Ashcroft v. Iqbal, 556 U.S. 662, 678

 (2009)).    Although all allegations contained in a complaint are

 assumed to be true when considering whether the allegations are

 sufficient to sustain a claim, this tenet is “inapplicable to

 legal conclusions.”      Iqbal, 556 U.S. at 678.       In reviewing a pro

 se complaint, the court must be mindful that a plaintiff’s

 pleadings should be held “to less stringent standards than

 formal pleadings drafted by lawyers.”           Erickson v. Pardus, 551

 U.S. 89, 94 (2007) (quoting Estelle v. Gamble, 429 U.S. 97, 106

 (1976)); see also Harris v. Mills, 572 F.3d 66, 72 (2d Cir.

 2009) (noting that even after Twombly, the court “remain[s]

 obligated to construe a pro se complaint liberally”).           The court

 must liberally construe pro se complaints “to raise the

 strongest arguments that they suggest.”           Wiley v. Kirkpatrick,

 801 F.3d 51, 62 (2d Cir. 2015) (quoting Burgos v. Hopkins, 14

 F.3d 787, 790 (2d. Cir. 1994)).           Nevertheless, the court is

 required to dismiss sua sponte an in forma pauperis action if

 the court determines that the action is “(i) frivolous or

 malicious; (ii) fails to state a claim upon which relief may be

 granted; or (iii) seeks monetary relief against a defendant who

 is immune from such relief.”       28 U.S.C. § 1915(e)(2)(B); see


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 also Abbas v. Dixon, 480 F.3d 636, 639 (2d Cir. 2007) (“[Section

 1915(e)(2)(B)(ii)] provide[s] an efficient means by which a

 court can screen for and dismiss legally insufficient claims.”).

          b. Employment Discrimination Actions

             The complaint asserts claims under the ADA and Title

 VII.   Title VII makes it unlawful for an employer “to fail or

 refuse to hire . . . or otherwise to discriminate against any

 individual with respect to his compensation, terms, conditions,

 or privileges of employment, because of such individual's race,

 color, religion, sex, or national origin.”         42 U.S.C. § 2000e–

 2(a)(1).    To state a claim for discrimination based on a failure

 to hire, a plaintiff must show that he “(1) is a member of a

 protected class; (2) was qualified for the position at issue;

 (3) was denied the position; and (4) that the circumstances of

 the adverse employment decision give rise to an inference of

 discrimination.”     Mandell v. Cty. of Suffolk, 316 F.3d 368, 377

 (2d Cir. 2003) (referring to the McDonnell Douglas framework).

 The McDonnell Douglas framework is an evidentiary standard for

 prima facie sufficiency, rather than a pleading requirement.

 Littlejohn v. City of New York, 795 F.3d 297, 308 (2d Cir.

 2015).    The facts alleged in the complaint therefore “need not

 give plausible support to the ultimate question of whether the

 adverse employment action was attributable to discrimination[;]

 [t]hey need only give plausible support to a minimal inference


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 of discriminatory motivation.”       Id. at 311.     To meet this

 minimal burden, “Title VII thus requires a plaintiff asserting a

 discrimination claim to allege two elements: (1) the employer

 discriminated against him (2) because of his . . . [protected

 class] . . . .”     Vega v. Hempstead Union Free School Dist., 801

 F.3d 72, 85 (2d Cir. 2015).

             The ADA makes it unlawful for an employer to

 “discriminate against a qualified individual on the basis of

 disability in regard to job application procedures, the hiring .

 . . of employees, . . . and other terms, conditions, and

 privileges of employment.”       42 U.S.C. § 12112(a).      To establish

 a prima facie discrimination case under the ADA, a plaintiff

 must allege that “(1) the defendant is covered by the ADA; (2)

 plaintiff suffers from or is regarded as suffering from a

 disability within the meaning of the ADA; (3) plaintiff was

 qualified to perform the essential functions of the job, with or

 without reasonable accommodation; and (4) plaintiff suffered an

 adverse employment action because of his disability or perceived

 disability.”    Kinnery v. City of New York, 601 F.3d 151, 155-56

 (2d Cir. 2010) (citations omitted); see also Brady v. Wal–Mart

 Stores, Inc., 531 F.3d 127, 134 (2d Cir. 2008).          As with Title

 VII claims, a plaintiff alleging discrimination under the ADA

 “must still ‘demonstrat[e] that he suffered an adverse

 employment action under circumstances giving rise to an


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 inference of discriminatory intent.’”         Dooley v. JetBlue Airways

 Corp., 636 F. App’x 16, 21 (2d Cir. 2015) (citing Cortes v. MTA

 N.Y.C. Transit, 802, F.3d 226, 231 (2d Cir. 2015)).           And also as

 with Title VII, an ADA plaintiff is not required to plead a

 prima facie case under the McDonnell Douglas framework and

 “‘need only give plausible support to a minimal inference of

 discriminatory motivation’ at the pleading stage.”           Id. (citing

 Vega, 801 F.3d at 84).

             “A claim for discrimination based on

 a failure to hire is analyzed under the same standard as that

 for one based on termination.”       Cincotta v. Hempstead Union Free

 School Dist., 313 F. Supp. 3d 386, 411 (E.D.N.Y. 2018)

 (referring to the McDonnell Douglas framework); see also

 Levitant v. City of New York Human Resources Admin., 625 F.

 Supp. 2d 85, 101 (E.D.N.Y. 2008) (“With respect to a

 discriminatory failure to hire or promote claim, the McDonnell

 Douglas test applies.”).      In such a case, an “inference of

 discrimination may arise if the position remains open and the

 employer continues to seek applicants of the plaintiff's

 qualifications [] or if the position was filled by someone not a

 member of plaintiff's protected class.”         Id. (citation omitted).

 Moreover, a plaintiff cannot establish that he applied for and

 was qualified for a position with evidence that he “generally

 requested [hiring] consideration[;] [a] specific application is


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 required . . . .”     Petrosino v. Bell Atlantic, 385 F.3d 210, 227

 (2d Cir. 2004); see also Wang v. Phoenix Satellite Television

 U.S., Inc., 976 F. Supp. 2d 527, 537 (S.D.N.Y. 2013) (citing

 Brown v. Coach Stores, Inc., 163 F.3d 706, 710 (2d Cir. 1998)

 (“For a failure to hire claim to withstand a motion to dismiss,

 a plaintiff must allege specific positions to which []he applied

 and was rejected. . . . To qualify as an application, a

 plaintiff’s actions must be more than a general request for

 employment.”)).     But this rule is not absolute.       Petrosino, 385

 F.3d at 227.    “[T]o be excused from the specific application

 requirement, an [applicant] must demonstrate that (1) the

 vacancy at issue was not posted, and (2) the [applicant] either

 had (a) no knowledge of the vacancy before it was filled or (b)

 attempted to apply for it through informal procedures endorsed

 by the employer.”     Id.; see also Williams v. R.H. Donnelley,

 Corp., 368 F.3d 123, 129 (2d Cir. 2004) (“[W]e have held that if

 an employee expresses to the employer an interest in promotion

 to a particular class of positions, that general expression of

 interest may satisfy the requirement that the employee apply for

 the position.”).

         c. Application to Plaintiff’s Case

             Plaintiff has failed to allege sufficient facts to

 demonstrate that the defendant discriminated against him in

 violation of Title VII or the ADA.        As a general matter, the


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 complaint suggests that the plaintiff did not actually apply for

 a specific position, although he expressed an interest to

 defendants’ employees.      The plaintiff alleges that he “applied

 to graduate school . . . with a graduate assistantship,” but

 also that he sought “information about the process” and

 information “regarding how to apply.”         (Compl. at 5-6.)      Absent

 an allegation that plaintiff actually applied for a specific

 position, the court has no basis for determining that he was

 rejected from a position for which he was qualified. 4           The

 plaintiff also has not provided any facts implicating an

 exception to the specific application rule.           Furthermore, the

 plaintiff has not alleged any facts regarding whether the

 graduate assistantship positions remain open or have been filled

 by people outside of his protected class.

             Even if the court found that plaintiff’s requests for

 information regarding graduate assistantships constituted

 specific applications, the facts alleged by the plaintiff still

 would not give “plausible support to a minimal inference of

 discriminatory motivation.”       Littlejohn, 795 F.3d at 311.

 Plaintiff does not provide any facts to suggest that any of


       4 The lack of details regarding the conversations referred to in the
 complaint also obscures the defendant’s conduct generally. Plaintiff states
 that “none of the offices were helpful in giving [him] information” and that
 “the offices . . . were not very helpful . . . .” (Compl. at 5-6.) It is
 unclear whether plaintiff’s allegation is that he received no information at
 all, that certain of his questions went unanswered, or that the defendant
 failed to assist him in some other way.


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 defendant’s employees took action (or inaction) regarding the

 plaintiff because of his sex or disability status.

             Regarding the sex discrimination claim, plaintiff only

 states that the offices he visited had “female graduate

 assistantships.”      (Compl. at 5.)       He does not state that there

 were only female graduate assistantships or that anyone

 indicated to him that men would be disfavored for these

 positions.     The plaintiff does not allege that the positions he

 was interested in were later filled by women either—the only

 female employees referred to in the complaint were the ones who

 were already employed during the time the plaintiff was

 investigating the positions.

             As to disability status, the plaintiff states that he

 told the director of graduate admissions, during their one

 conversation, that he has a disability.           (Compl. at 6.)   The

 plaintiff does not provide any explanation regarding why he

 shared this information, including whether it was to ask for an

 accommodation, or how the director responded to this

 information.     He also does not suggest that anyone else he spoke

 with commented on or took notice of his disability.

             Plaintiff has established that he is a male with a

 disability who sought a job or admission to a graduate program,

 but was not successful.       The plaintiff has not connected these

 facts in a way that establishes a viable claim, or otherwise


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 provided additional facts that would do so.           For these reasons,

 plaintiff’s claims for employment discrimination are dismissed

 for failure to state a claim on which relief may be granted.              28

 U.S.C. § 1915(e)(2)(B)(ii).

                             III. Leave to Amend

             As currently written, the complaint fails to state a

 claim for employment discrimination.         However, in light of

 plaintiff=s pro se status, the court grants plaintiff thirty days

 from the date of this order to amend his complaint. 5           See Fed R.

 Civ. P. 15(a); Gomez v. USAA Fed. Sav. Bank, 171 F.3d 794, 795

 (2d Cir. 1999) (per curiam) ("Certainly the court should not

 dismiss without granting leave to amend at least once when a

 liberal reading of the [pro se] complaint gives any indication

 that a valid claim might be stated.").          In preparing an amended

 complaint, plaintiff should take note of the information

 provided in this order regarding the requirements of Title VII

 and ADA claims.




       5 The court notes, however, that plaintiff is no stranger to the

 pleading requirements of an employment discrimination action, having filed
 five prior employment discrimination actions in this district. See, e.g.,
 Bussa v. Vernon Ave Children’s Sch., 10-CV-1895 (CBA)(Title VII & ADA
 complaint filed Apr. 27, 2010, stipulation of dismissal so ordered Sept. 30,
 2010); Bussa v. Northfield Bancorp Inc., 10-CV-4796 (CBA) (ADA complaint
 filed Oct. 14, 2010, stipulation of dismissal so ordered Nov. 7, 2011); Bussa
 v. Henan Meiya Cultural & Commercial Development Co. Ltd., 11-CV-6387
 (CBA)(ADA complaint filed Dec. 29, 2011, dismissed March 13, 2012); Bussa v.
 A Very Special Place, Inc., 12-CV-871 (CBA) (ADA complaint filed Feb. 17,
 2012, dismissed July 24, 2013); Bussa v. A Very Special Place, Inc., 14-CV-
 6479 (CBA)(ADA complaint filed Oct. 29, 2014, dismissed Dec. 19, 2014).


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                                IV. Conclusion

             Accordingly, the complaint is dismissed for failure to

 state a claim on which relief may be granted. 28 U.S.C. §

 1915(e)(2)(B)(ii).

             In light of this court’s duty to liberally construe

 pro se complaints, plaintiff is given thirty days from the date

 of this order to file an amended complaint.          Should plaintiff

 have a basis for claims of employment discrimination, he should

 provide facts in support of such claims.          Plaintiff is directed

 that his amended complaint must comply with Rule 8(a) of the

 Federal Rules of Civil Procedure, and it must “plead enough

 facts to state a claim to relief that is plausible on its face.”

 Twombly, 550 U.S. at 570.       Plaintiff is advised that the amended

 complaint will completely replace his first complaint, so he is

 encouraged to include any and all claims he seeks to raise

 against the defendant.       The amended complaint must be captioned

 as an “Amended Complaint” and bear the same docket number as

 this Order.

             The Clerk of Court is respectfully requested to serve

 a copy of this order, provide plaintiff with an employment

 discrimination complaint form, and note service on the docket.

 If submitted, the amended complaint will be reviewed for

 compliance with this Order and for sufficiency under 28 U.S.C. §

 1915(e)(2)(B).     If plaintiff fails to amend his complaint within


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 thirty days of the date that this Order is entered on the

 docket, the court shall dismiss this complaint for failure to

 state a claim on which relief may be granted and judgment shall

 be entered.

             The court certifies pursuant to 28 U.S.C. § 1915(a)(3)

 that any appeal would not be taken in good faith and therefore

 in forma pauperis status is denied for purpose of an appeal.

 See Coppedge v. United States, 369 U.S. 438, 444-45 (1962).


 SO ORDERED.

 Dated: Brooklyn, New York
        January 8, 2019

                                     _________/s/_________________
                                     KIYO A. MATSUMOTO
                                     United States District Judge
                                     Eastern District of New York




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